      Case 1:20-cv-00379-CLM     Document 84     Filed 07/06/21   Page 1 of 1            FILED
                                                                                 2021 Jul-06 AM 09:50
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION

CHRISTOPHER SCAIFE, as                )
Guardian of ANDREW E.                 )
SCAIFE,                               )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )     Case No.: 1:20-cv-00379-CLM
                                      )
NATIONAL CREDIT                       )
SYSTEMS, INC.,                        )
                                      )
     Defendant.                       )

                                FINAL ORDER

      In accordance with this court’s previous dismissal order (doc. 83), the court

hereby ORDERS that this action shall be, and is, DISMISSED WITH

PREJUDICE.

      Costs taxed as paid.

      DONE and ORDERED on July 6, 2021.



                                   _________________________________
                                   COREY L. MAZE
                                   UNITED STATES DISTRICT JUDGE
